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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )       No. 10-cr-30118-DRH
                                              )
 MICHAEL LENTINE,                             )
                                              )
        Defendant.                            )


                                             ORDER

 HERNDON, Chief Judge:

        This matter is before the Court on the Motion of the United States pursuant to Rule 17(c)(1)

 of the Federal Rules of Criminal Procedure and the All Writs Act, 28 U.S.C. §1651, for an order

 compelling Citibank (South Dakota), N.A. to produce certain documents described in a trial

 subpoena prior to the sentencing hearing.

        The Court finds that the government’s motion is well taken and the same is GRANTED. IT

 IS HEREBY ORDERED that Citibank (South Dakota), N.A. produce the requested documents to

 the attorney for the government, Bruce Reppert, Assistant U.S. Attorney, 9 Executive Drive,

 Fairview Heights, Illinois 62208 on or before December 17, 2010.

        IT IS SO ORDERED.

                                                                       David R. Herndon
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                                              DAVID R. HERNDON
                                              Chief Judge
                                              United States District Court
